          Case: 1:14-cv-02202 Document #: 10 Filed: 05/16/14 Page 1 of 1 PageID #:152                                                                              ')iflry,,
                                                PRocESS RECETPTAND RETuRN
U.S. Department of Justice                      See Instructionsfor "Service of Process by the U.S. Marshal"
UAite:States Marshals Service                   on the reverse of this form.
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PLAINTIFF                                                                                                                    COURT CASE NUMBER

       lfns                                                                                                                  Irt                                  mk
DEFENDANT                                                                                                                    TYPE OF PROCESS


    ERVE               NAME                             , COMPANY, CORPORATION, ETC.,         TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN
                        \\1.,                                  t a{ LnR{tccti
     ),                ADDRESS        (,Srreel       RFD, Apartment No., City, State and ZIP Code)

     AT               \Ltto5,6                                                                       1L\
SEND NOTICE OF SERVICE COPY TO                   1              AT NAME AND ADDRESS BELOW:
                                                                                                                    Number of process to be

            l-:Yo.*.srn\ i rrls B t t 5ru
                                                                                                                    served with this Form - 285
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                                                                                                                    Number of parties to be
                                                                                                                    served in this case

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                                                                                                                        THOMASG BRUTON                                      "r
                                                                                                                                                                            5f,
                                                                                                              CLERK, U S DISTRICT'OURT
                                                                                                                                                                            r.O
Signature ofAttorney or other Originator requesting service on behalfof:




SPACE BELOW FOR USE OF U.S. MARSHAL                                                      ONLY-          DO NOT WRITE BELOW THIS LINE
I acknowledge receipt for the total       Total Process      District                      Signature ofAuthorized USMS Deputy or Clerk                              Date
number of process indicated.                                 of Origin
(Sign onlyfirst USM 285 if more
than one USM 285 is                        th                *o.   2{                                                                                               05             'l,r/
IherebycertiffandretumthatIEhavepersonallyserved,fihavelegalevidenceofservice,Ehu,"e,"",,t"rydescribed
on the individual, company, corporation, etc., at the address ihown above or on the individual, company, corporation, etc., shown at the address inserted below


I   I hereby certif, and retum that I am unable to locate the individual, company, corporation, etc., named   abov e (See remarks below)

Name andtitle ofindividual served(ifnot shown above)                                                                                   A person of suitable age and dis-
                                                                                                                                   U   cretion then residing in the defendant's
                                                                                                                                       usual place of abode
Address (complete only if different than shown above)                                                                                                   Time


                                                                                                                                                         lctsS

                                                                                                              Amount owed to U.S. Marshal         or      Amount of Refund



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REMARKS:

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PRIOREDITIONS
MAYBE USED
                                                            1. CLERKOFTHE COURT                                                            FORM USM-285 (Rev. l2l15l80)
                                                                                                                                                       (nstructions Rev. I 2/08)
